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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                     )
MASSACHUSETTS PREMIER SOCCER, )
LLC, d/b/a “Global Premier Soccer,”  )
                                     )
              Plaintiff              )
                                     )
              v.                     )               Civil Action No. 1:20-cv-10430-JCB
                                     )
SAN DIEGUITO SURF SOCCER CLUB, )
INC., d/b/a “New England Surf Soccer )
Club,” “South Carolina Soccer Club,” )
and “San Diego Surf Soccer Club,”    )
LUKE KRAWCZYK, and                   )
ANDREW PROSSER,                      )
                                     )
              Defendants,            )
                                     )

             MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION
         TO SUBSTITUTE CORPORATE DEFENDANT WITHOUT PREJUDICE

        Plaintiff Massachusetts Premier Soccer LLC, d/b/a “Global Premier Soccer” (“GPD”)

submits this memorandum in support of its motion to substitute Surf Cup Sports, LLC for San

Dieguito Surf Soccer Club, Inc. (“SD Surf Club”). In its opposition to pending motions, SD Surf

Club has represented to the Court that Surf Cup Sports, LLC is the proper party in this case. In

this case arising under the Lanham Act (also involving non-competition and non-solicitation

clauses), GPS named the entity that had applied for trademark protection for names like those

that are at issue in this case.
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                                   Respectfully submitted,

                                   /s/Phillip Rakhunov
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                                   Phillip Rakhunov (BBO#663746)
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Dated: March 10, 2020              prakhunov@psdfirm.com




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                                     Certificate of Service

        The undersigned certifies that this document, filed through the ECF system, will be
electronically served on counsel who are registered users of ECF on March 10, 2020.



                                                            /s/ Phillip Rakhunov




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